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          11                              UNITED STATES DISTRICT COURT
          12                            CENTRAL DISTRICT OF CALIFORNIA
          13     JANE DOES NO. 1-6 AND JOHN               CASE NO. 8:21-CV-00768-JVS-KES
                 DOES NO. 2, 3, and 5, on behalf of
          14     themselves and all others similarly      Hon. James V. Selna
                 situated,
          15
                                      Plaintiffs,         NOTICE OF SUPPLEMENTAL
          16                                              AUTHORITY
                        v.
          17
                 REDDIT, INC.,
          18
                                      Defendant.
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            1           On September 8, 2021, Judge Gilliam granted Craigslist’s motion to dismiss the
            2    amended complaint in J. B. v. G6 Hospitality, LLC, 2021 WL 4079207 (N.D. Cal. Sept.
            3    8, 2021) (Exhibit 1).        The court’s central inquiry was the scope of 47 U.S.C.
            4    § 230(e)(5)(A), including whether it is “sufficient that someone committed a section 1591
            5    violation that underlies a plaintiff’s [18 U.S.C. § 1595] claim,” or whether “a plaintiff
            6    must show that the conduct of the civil defendant being sued amounts to a criminal
            7    violation.” Id. at *5 (emphasis original). The court held that “section 230(e)(5)(A)
            8    withdraws immunity only for claims asserting that the defendant’s own conduct amounts
            9    to a violation of section 1591.” Id. at *4. Relying on FOSTA-SESTA’s plain statutory
          10     language and its legislative history, Judge Gilliam squarely rejects the opposite reading
          11     adopted by Magistrate Judge Spero in Doe v. Twitter, 2021 WL 3675207 (N.D. Cal. Aug.
          12     19, 2021) (id. at *5), and that Plaintiffs have advocated for in this Court.
          13            First, Judge Gilliam held that the statutory language—which exempts from section
          14     230 a civil claim brought under § 1595 “if the conduct underlying the claim constitutes a
          15     violation of section 1591,” 47 U.S.C. § 230(e)(5)(A)—refers to the claim against the civil
          16     defendant. J. B., 2021 WL 4079207 at *6; Reddit Reply 8-12. The court explained that
          17     the statute’s exemptions for criminal prosecutions use “nearly identical language” and
          18     “necessarily refer[] to the conduct of the criminal defendant.” J. B., 2021 WL 4079207
          19     at *6. According to the Court, this “strongly suggests that [Congress] intended to give the
          20     ‘conduct underlying’ phrases the same meaning.” Id.
          21            The court further noted that FOSTA-SESTA added a provision to § 1595
          22     authorizing state attorneys general to bring parens patriae civil actions against “any
          23     person who violates section 1591.” 18 U.S.C. § 1595(d). According to the court, it would
          24     be unreasonable to conclude that Congress would allow private plaintiffs to sue
          25     defendants who only violated § 1595 based on the application of a constructive knowledge
          26     standard, while limiting attorneys general to suing only direct violators of § 1591. J. B.,
          27     2021 WL 4079207 at *7.
          28            Second, the J. B. court also held that the legislative history supported this

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            1    interpretation. Judge Gilliam observed that FOSTA-SESTA, as introduced, would have
            2    exempted any claim brought under § 1595, which is the interpretation that Plaintiffs urge
            3    this Court to adopt. J. B., 2021 WL 4079207 at *8-12. However, after hearing testimony
            4    regarding concerns about applying the broad, negligence-based theory of § 1595,
            5    Congress changed the language of the bill to require that online actors named as civil
            6    defendants had to have violated § 1591. Id. Following this amendment, the original
            7    sponsors of the bill expressed concerns that the addition of the language referencing
            8    § 1591 would impair civil enforcement, but the final bill retained this language because
            9    the combination of the civil remedy exemption (as amended to include § 1591) and the
          10     criminal prosecutions would provide civil justice for victims and permit prosecutions of
          11     bad actors. Id.
          12            Judge Gilliam’s detailed analysis, relying on both the plain statutory language and
          13     the legislative history, confirms that this Court should dismiss Plaintiffs’ claims against
          14     Reddit as barred by Section 230(c)(1).
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          16     Dated: September 10, 2021                Respectfully submitted,
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